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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


 In re:                                                          Chapter 7

 BAYOU STEEL BD HOLDINGS, L.L.C.,                                Case No. 19-12153 (KBO)
 et al., 1                                                       (Jointly Administered)
           Debtors.


                                                        Objection Deadline: January 23, 2025 at 4:00 p.m. (ET)
                                                            Hearing Date: February 7, 2025 at 10:00 a.m. (ET)

           NOTICE OF SECOND MOTION OF CHAPTER 7 TRUSTEE
        TO COMPENSATE COMPASS LEXECON, LLC AS CONSULTING
   EXPERT AND, IF NECESSARY, AS TESTIFYING EXPERT FOR THE TRUSTEE
   PURSUANT TO SECTIONS 105(A) AND 363(B)(1) OF THE BANKRUPTCY CODE

                    PLEASE TAKE NOTICE that on January 9, 2025, George L. Miller, chapter 7

trustee (the “Trustee”) to the estates of the above-captioned debtors, filed the Second Motion of

Chapter 7 Trustee to Compensate Compass Lexecon, LLC as Consulting Expert and, If Necessary,

as Testifying Expert for the Trustee Pursuant to Sections 105(a) and 363(b)(1) of the Bankruptcy

Code (the “Motion”) with the United States Bankruptcy Court for the District of Delaware, 824

North Market Street, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the

Motion is attached hereto.

                    PLEASE TAKE FURTHER NOTICE that any response or objection to the relief

sought in the Motion must be filed with the Bankruptcy Court on or before January 23, 2025 at

4:00 p.m. (prevailing Eastern Time).




1 The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Bayou Steel BD Holdings, L.L.C. (1984), BD Bayou Steel Investment, LLC (1222), and BD LaPlace,
LLC (5783).



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                    PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve

a copy of the response or objection upon: (i) counsel to the Trustee, Pachulski Stang Ziehl & Jones

LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier

19801),      Attn:           Bradford   J.   Sandler   (bsandler@pszjlaw.com),   Colin   R.   Robinson

(crobinson@pszjlaw.com), and Peter J. Keane (pkeane@pszjlaw.com); and (ii) the Office of the

United States Trustee, J. Caleb Boggs Federal Building, 844 N. King Street, Suite 2207, Lockbox

35, Wilmington, DE 19801, Attn: Linda J. Casey (linda.casey@usdoj.gov).

                    PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                    PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON FEBRUARY 7, 2025 AT 10:00

A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE KAREN B. OWENS,

UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET,

6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 19801.




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Dated: January 9, 2025                   PACHULSKI STANG ZIEHL & JONES LLP

                                         /s/ Colin R. Robinson
                                         Bradford J. Sandler (DE Bar No. 4142)
                                         Colin R. Robinson (DE Bar No. 5524)
                                         Peter J. Keane (DE Bar No. 5503)
                                         919 North Market Street, 17th Floor
                                         P.O. Box 8705
                                         Wilmington, DE 19899-8705 (Courier 19801)
                                         Telephone: (302) 652-4100
                                         Facsimile: (302) 652-4400
                                         Email: bsandler@pszjlaw.com
                                                 crobinson@pszjlaw.com
                                                 pkeane@pszjlaw.com

                                         Counsel to George L. Miller, Chapter 7 Trustee




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